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DENISE PAJOTTE lN THE
PLAINTIPP CIRCUIT COURT
vi FOR
LYNETTE PAJOTTE, et al PRINCE GEORGE’S COUNTY
DEFENDANTS
And Case No.: CA116~40434 ,.,.;:§ »
RELIASTAR LIFE INSURANCE nn “"“'* §§ §
CGMPANY Consolidated With: CALl6-43838 gm ` § ms
§§ § §.;a:‘
INTERPLEADER/DEFENDANT § y 3 §§
ramey `:.: ,)
§§ ' §§ §§ we
§§ §§ §§
MOTION TO STRIKE DEFENDANTS’ LYNETTE PAJOTTE AND THE f “"“ '
ESTATE OF TYSON PAJOTTE MOTION FOR SUMMARY JUDGMENT
NOW COMES, Denise Pajotte (“Plaintift”), by her attorneys Jessie Lyons Crawford and
The Law Ofiices of Jessie Lyons Crawt`ord, LLC and files her Motion to Strike Defendants’
Pajotte and Estate of Tyson Paj otte’s Motion for Surnmary Judgrnent and for reasons:
The Defendants? filed `their untimely Motion for Sumrnary Judgrnent (“MSJ”) on ` `

November 15, 2017, relying on an outdated version of Maryland Rule 2~501(a), Which

previously stated that a party may file an MSJ at “any time” on the grounds that the party is

entitled to judgment as a matter of laW.
However, Maryland Rule 2-501(3) now states that:

“Any party may tile a Written motion for summary judgment on all or part of an action on
the ground that there is no genuine dispute as to any material fact and that the party is
entitled to judgment as a matter of laW. 'l`he motion shall be supported by affidavit if it is
(l) filed before the day on Whieh the adverse party's initial pleading or motion is.filed or
(2) based on facts not contained in the record. A motion for summary judgment may not
he filed: (A) after any evidence is received at trial on the merits, or [(B) unless
permission of the court is granted, after the deadline for dispositive motions
specified in the scheduling order entered pursuant to Rule 2-504(b)(l)(E)”].

On lanuary 10, 2017, this Court issued a Scheduling Order (the “Order”), setting forth
certain deadlines The Order provided that all dispositive motions would need to be filed within
thirty (30) days before the May 5, 20l7, Pre~l`rial Cont`erence. The Defendants’ MSJ was due no
later than Apiil 5, ZOl 7. The Defendants’ l\/lSJ was filed two hundred and twenty four (éZd) days
after the deadline 'l`he Det`endants’ has not sought leave to tile the late MSJ. Moreover, Plaintiff
would suffer severe prejudice in light of the fact that trial on the merits is scheduled for January
4, 2018.

Furthermore, the Order provided that the parties follow a Dispositive l\/Iotion Protocol
(“DMP”), Which provides that:

“A party filing a motion to dismiss (not related to alleged discovery violations) or motion
for summary judgment Will Write a letter to the Judge who is assigned to that motion ( Which is
determined by the last number of the case), notifying the Judge that the motion has been filed
and indicating whether a hearing is requested A copy of the letter should be sent to opposing
counsel, but not filed with the clerk”. ` `

Det`endants’ did not tile such a letter, nor did they cbpy undersigned counsel as required
by the DMP.

WHEREFORE, Plaintir`f respectfully request that her l\/lotion to Strike Defendants’ MSJ
be granted and for such other and further relief as may be deemed just and proper.

n Respectfully Submitted,

TH`E LAW OFPICES GF .lESSIE LYONS?CRAWFORD, LLC

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//7' ’/ f
LJe/s/sie Lyons Ci'liw`{zrd, Esquire
2601 l\/laryland A nue
Baltimore, Maryland ZlZlS
4lO-662-l23l
FaX: 410-662-1238

attorneyjicrawford@verizon.net
FoR PLAINTIFF DENISE PAJor'rs
CERTIFICATE OF SERVICE
l HEREBY CERTlFY that on this 4th day of December 2017, a copy of Plaintift`s
Motion to Strike Defendants’ l\/lotion for Summary Judgment was mailed first class mail postage
prepaid to:

Samantha Granderson, Esq.
Bacon, Thornton & Palmer, LLP
64ll lvy Lane, Suite 500
Greenbelt, Maryland 20770

Gail L. Westover, Esquire

Curtis Arnold, Jr., Esquire
Eversheds Sutherland (US) LLP
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Washington, DC 20001

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` The Routnda, Suite 356 " `
_Baltimore, Maryland 212ll

  
      

Patricia Lee, Esq.
Washington Metropolitan Area 'l`ransit Authority
600 5th street N_W.
Washington, DC 20001 _ »--\_ » /
/"' //'/ ' , v rt
fill~"""'lessie Lyo x rd, Esq.

Counsel for Pl§iin ff

DENISE PAJ()TTE IN THE

 

 

PLAiNTiFF CIRCUIT COURT
v. FOR
LYNETTE PAJOTTE, er al PRINCE GEORGE’S COUNTY
DEFENDANTS
And Case No.: CAL16-40434
RELIASTAR LI'FE lNSURANCE
COMPANY Consolidated with: CAL16-43 838
lNTERPLEADER/DEFENDANT
ORDER

Upon consideration of the Plaintit`f’s l\/lotion to Stril<e Defendants’ l\/lotion for
Summary Judgment, it appearing that good cause having been stated, it is hereby this mDay of
`, 2017, 9RDERED, that the Motion is GRANTED.

Signed this___.,_day of , 2017

 

ludge Circuit Court
of Prince Georges County

dr

lN THE Cl§ C UlT COl lRT FOR PRIN(`;§`. ’ uEORGE’ S COUNTY MARYLAND

To: lessie Lyons Crawford ESQUIRE
2601 Maryland Ave.
Baltimore, MD 212l8

Case Descripti on: Pajotte vs Pajotte
Case Nurnber: CALl6- 40434
Tracl< Number: 3

SCHEDULING ()RDER
This order is your only notice of dates and required court appearances lt may not be modified except by
order of court upon a showing of good cause. Stipulations between counsels are not effective to change any
deadlines in this order. Failure to comply with all terms of this Order may result in the imposition of appropriate
sanctions

SHEILA R. TILLERSUN ADAMS

 

- ADMINISTRATIVE JUDGE -
Date: lanuary l0, 2017

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'7

'l`his case is assigne oCi vi l Track: 3
""~y By Date: t
scheduled Event: MAY~§-zoi? Pr@rriai COnrerence - os:45 AM

 

(UPON ARRIVING AT THE COURTHOUSE, CHECK FOR THE ASSIGNED COURTROOM ANl) JUDGE)

TRACK l » TRACK 2 -TRACK 3 - TRACK 4

60 days prior to pretrial, complete the following:
n [ g ( / l. Amendinents to pleadings
s 2. Add and serve additional parties including
K// s c '~ t Mred insurance carriers
<d;)/M_Eggp_jerts f any, identified per Maryland Rule
».; 2 402 (g)

30 days prior to pretrial complete the following:

All independent medical examinations

§ile dispositive motions

Defense EXperts, if any, identified per l\/laryland Rule
2~402(g) ~

L)Jl\))--A

Prior to ADR session (if ordered):

g h l. Complete all discovery

l/f il §T.,, ,»~\. 2. Secure resolution of any outstanding dispositive motions
v ,` (per l\/laryland Rule 2~322 or 2~501) from the court

, .L,/\ o 1 ’

CALl 6»40434

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The parties are encouraged, but not required to submit the controversy to non-binding arbitration, which
includes mediation Disputes over track assignment, arbitration, or any provision of this Grder should be
addresses to the Court by l\/lotion to Amend Scheduling Order.

At least five (5) days prior to the pretrial,` file a statement in full compliance with rule 2-504.2. Parties
represented themselves are required to appear at pretrial and to file a pretrial statement in compliance with
l\/laryland Rule 2~504.2. `Parties represented by counsel, and claims representatives are not required to appear at
pretrial, provided they are available by telephone, but are required to appear at ADR. Failure to comply with
any of these provisions may result in a show cause hearing and imposition of sanctions With the consent of all
parties, the pretrial may be continued for not more than Sixty (60) days after the scheduled"pretrial date above
A Motion and Order is required for any request for a continuance that is more than Sixty (60) days after the
scheduled pretrial, or made without the consent of all parties

All ADR sessions must be completed prior to trial.

Any stipulation between counsel or parties to alter deadlines are not effective without court
approval

Dispositive Motion Protocol
A party filing a motion to dismiss (not related to alleged discovery violations) or motion for summary judgment
will write a letter to the lodge who is assigned to that motion (which is determined by the last number of the
case), notifying the Judge that the motion has been filed and indicating whether a hearing is requested A copy
of the letter should be sent to `
opposing counsel, but not filed with the clerk.

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The party responding to the motion to dismiss or motion for summary judgment will likewise send a similar
‘etter to the assigned Judge. A copy of this letter should also be sent to opposing counsel, but not filed with the
.erl<.

Request for extensions to time to respond should be addressed to the assigned Judge by letter with order
attached

A hearing, where appropriate, will be set by the fudge not later than thirty (3 0) days after the motion and
response have been filed

The assigned Judge for dispositive motions is determined by the last digit in the case number:

l - Jacl<son 6 ~ Hill

2 ~ Davey 7 ~ Wallace

3 - Davey 8 - Wallace

4 - Nichols y 9 - Northrop
5 - Woodard ' 0 ~ Jackson

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* Please bring this form With you to court *

_ Possession and use of cell phones, computers, cameras and other electronic devices may be limited or prohibited
in designated areas of the courthouse The use of any camera, cell phone, or any electronic device for taking, recording, or
transmitting photographs, videos, or other visual images is prohibited in the courthouse at all times, unless the court
expressly grants permission in a specific instance

opy to:
Clerl<; of the Circuit Court
All Counsel 1 , ` Re‘._n ll/ iO/ 150 .

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